Case 1:24-cv-06930-CBA-LKE          Document 70       Filed 02/03/25     Page 1 of 1 PageID #:
                                          1195


                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK
_____________________________________
In the Matter of O.T.                     )
                                          )
ZUHTU ONUR TATARI                         )
                                          )
                      Petitioner,         )    Civil No. 1:24-cv-06930
                                          )
        v.                                )
                                          )
NEVA DURUST                               )
                                          )
                      Respondent.         )
_____________________________________     )


                                    NOTICE OF APPEAL

          Notice is hereby given that Neva Durust, Defendant in the above-captioned case,

   hereby appeals to the United States Court of Appeals for the Second Circuit from the

   Memorandum and Order dated January 29, 2025 (ECF Dkt. #67) and Judgment dated

   February 3, 2025 (ECF Dkt. #69) granting Plaintiff’s Petition for the Return of the Child to

   Turkey pursuant to the Convention on the Civil Aspects of International Child Abduction,

   done at The Hague Convention on October 25, 1980 and the International Child Abduction

   Remedies Act, 22 U.S.C. 9001 et seq.


   Dated: February 3, 2025

                                                    By:

                                                     /s/ Brett S. Ward
                                                    Brett S. Ward
                                                    Marilyn B. Chinitz
                                                    Andrew T. Hambelton
                                                    Paul H. Tzur
                                                    Alexa B. Lutchen
                                                    BLANK ROME LLP
                                                    1271 Avenue of the Americas
                                                    New York, New York 10020
                                                    Telephone: (212) 885-5568
                                                    brett.ward@blankrome.com

                                                    Counsel for Respondent
